Case 3:20-cv-13509-GC-DEA Document 66-9 Filed 08/31/22 Page 1 of 6 PagelD: 381

Exhibit D
Thess nol the Authorianve Copy

Case 3:20-cv-13509-GC-DEA Document 66-9 Filed 08/31/22 Page 2 of 6 PagelD: 382

SignatureLEASE NISSAN MOTOR ACCEPTANCE CORPORATION
‘ Motor Vehicle Lease Agreement With Arbitration Clause - New Jersey
ie Fete a oe)

LESSOR

DCH FREEHOLD NISSAN (732) 780-3600 6/10/2017
NAME OF LESS (DEALER: LESSOR TELEPHONE Yi MBER LEASE DATE

4041 Rt9 North Freehold NJ. 07728 01767
STREET ADDRESS CY STATE Ti? CODE NMAC DEALER NUMBER
LESSEE & £0-LESSEE

ANDREW M. RITZ MICHAEL RITZ NIA
SAME OF LESSEE AME OF COLESSEE MAME OF DIVER (IF LESSEE IS A BUSINESS)
94 HALLS CROFT ROAD FREEHOLD. NU. MONMOUTH 07728
LESSEE STREET ADDRESS CITY STATE. COLNTY OF CODE

94 HALLS CROFT ROAD FREEHOLD. NJ 07728
LESSEE MAILING ADDRESS | F DIFFERENT FROM ABOVE} CTY CATE, COURTS ZP CODE

94 HALLS CROFT ROAD FREEHOLD, NJ, MONMOUTH 07728
VEHICLE GARAGING ADOMESS (IF DOFFERERT FROM ABOLE) CITY STATE, COUNTY Zi? Cone

“You” and “your” refer equally to the Lessee and Co-Lessee (if any) signing this Lease. “We”, “us” and “our™ refer to the Dealer, or if this Lease is assigned,
to Nissan-infiniti LT (“NILT’) and/or any other assignee. “Vehicle” refers to the Motor Vehicle described below, including attachments, equipment, the

battery and accessories, incl a arging accessories included with the Vehicle. You agree to lease this Vehicle from us under the terms in this
Lease. You understand that this is a Lead) You do not own this VehicJé! unless and until you exercise your option to purchase this Vehicle.
* “Lael ae ° ist aa
YEAR Ke i FICATION NUMBER (VIN}
2017 NISSAN 2 sewrra SS \I{ [| \_ aoe sng br \ \gniapzaPyHy273i33
Bnew Oused | PrimayrUse’ | munsaiswod = automatic Oven’ § OCpT Prior tise (P1000 OQ daily Renual
28 o BRAKES @ Power © Manual (CO Personal'Family or Household  Potice
ODOMETER READING Personal, Family | s7reprver Power ) Manual 4 | O demonstrator OC Livery
DEEP ALUE PEARL Cr toustheld | ame conomonmG = @ CA Prior Wreckage C1 Unknown
| G1 Commercial CHARGING ACCESSORIES OD A
MSRP (New Vehicle Oni) $ 19,315.00

Peron ed bod Ue) =a a =e aod | eae oe mato] bt oy Bo 3 0 a= ae

AMOUNT DUE AT MONTHLY PAYMENTS OTHER CHARBES® (Not part of your monthly payment) TOTAL OF PAYMENTS
LEASE SIGNING OR Your first monthly payment of a) Disposition Fee Cif you do not purchase (The amount you will
DELIVERY $170.23 ___is due on the Vehicle) $ 395.00 have patd by the end

signing, followed by _ 23 of the Lease.)
(From Section 4, payments of $170.23 NIA + $NA

itemized below) onthe 9th of each month

$7,972.00

$11,982.29

Amount Due At Lease Signing Or Delivery
a) Capitalized Cost Reduction Including any
net trade-in allowance

$
b) First Monthly Payment + $ 170.23 m) N/A
¢) Refundable Security Deposit + $ NA A) Total
d) Title Fees +35. NA
¢) Registration Fees + § 183,00 How The Amount Due At Lease &r Deli
f) Sales Tax Paid in Advance + $ NIA 1) Net Trade-In Allowance
g} DOC FEE.399 + $ 399.00 Il) Rebates and Non-Cash Credits
h) TIRE FEE-7.5 + $ 750 Tl) Amount To Be Paid in Cash
i} NWA + $ NIA IV) Total

Ee es) Mae Nal ae RO am a neds ae)
a) GROSS CAPITALIZED COST, The agreed upon value of the c) DEPRECIATION AND AY AMORTIZED AMOUNTS.

Vehicte ($21,046.15 and any items you pay over the The amount charged for the Vehicle's decline in

lease term such as taxes, fees, service contracts, insurance value through normal use and for other items

and any outstanding prior credit or lease balance. (f you paid over the lease term. - s 4,066.12

want an itemization of this amount, please see Section?.$ 22,374.24) Seine ae charged iis ation . 1940
b) GAPITALIZED COST REDUCTION, The amount of any net I =

trade-in allowance, rebate, non-cash credit or cash g) TOTAL OF BASE MONTHLY PAYMENTS, The depreciation

you pay that reduces the gross capitalized cost. - 6912.27 and any amortized amounts plus the rent charge. = 4 088 52
¢) ADJUSTED CAPITALIZED COST. The amount used in h) NUMBER OF PAYMENTS IN YOUR LEASE *

calculating your base monthly payment. = 15,461.97 — i): BASE MONTHLY PAYMENT = 170.23
d) RESIDUAL YALUE, The value of the Vehicle al the end of i) MONTHLY LUXURY TAX + NIA

the Lease used in calculating your base monthly payment. — 11,395.85 sk) TOTAL MONTHLY PAYMENT = §

NILTIN OO1-NJ-E 4116 Page 1 ofS
Thu ts not the Authoritative Copy

Case 3:20-cv-13509-GC-DEA Document 66-9 Filed 08/31/22 Page 3 of 6 PagelD: 383

Pee ts Sed

EARLY TERMINATION. You may have to pay a substantial Soares if you
end this Lease early. The may be up to several tho dollars.
The actual charge will depend on when the Lease is terminated. The

earlier you end the Lease, the greater this charge Is Hkely to be. See
Section 14.

EXCESSIVE WEAR AND USE. You may be charged for excessive wear
based on our standards for normal use and for mileage in excess of

15000 ____ miles per year ai the rate of 15 cents per mile. See
Section 20. UU if this box is checked, this mileage includes ___ WA
miles over the term of the Lease purchased at 10 cents per mile,

Foe ke ere eel ee) et) te ere ee a el ede

The following items you will pay over the lease term and are in your momhly
payment:

a) Agreed upon value of the Vehicle $ 21,046 15
hb) Up-Front Sales Tax, if applicable + 733.09
Cc} Title, License and Registra + NA
d} Acquisition Fee + 595.00,
e) Service Contract(s) and/on Maintenance i |
Contract(s) (See st | ' | NIA
f) Credit Life and/or Disablijt}insuran | | |
(See Section 11} NIA
g) Prior Credit or Lease Balance + NIA
h) NIA + NIA
i) NIA ‘ N/A
j) NA + NIA
k>) NA + NIA
l) WA + NIA
m) Total Gross Capitalized Cost = 22,374 24

od nel Sr ed, bese

This Vehicle is covered by any warranty, extended warra
maintenance contract indicated helow

O) Maintenance Contract, a contract for regularly scheduled care “and

maintenance of this Vehicle
© Used Vehicle Limited Warranty

Oona

EXCEPT AS EXPRESSLY PROVIDED UNDER THIS LEASE, WE GFFER HO EXPRESS OR
IMPLIED WARRANTIES WITH RESPECT TO THIS VEHICLE. WE MAKE NO MMPLIED
WARRANTY OF MERCHANTABILITY. THE LESSOR UNDERTAKES HO RESPONSIBILITY FOR
THE QUALITY OF THE GOODS EXCEPT AS OTHERWISE PROVIDED IN THIS CONTRACT. THE
LESSOR ASSUMES WO AESPONSISELITY THAT THE GOODS WILL BE FIT FOR ANY
PARTICULAR PURPOSE FOR WHICH YOU MAY BE LEASING THESE GOODS, EXCEPT AS
OTHERWISE PROVIDED IN THE CONTRACT.

Pe eo a 1 1 oe ee eg SE)

The estimated total amount you will pay for official and license fees, registration, title
and taxes, including personal property taxes, over the term of your Lease, whether
included with your monthly payments or assessed otherwise is $1,505.59. The
actual total of fees and taxes may be higher or lower depending on the tax rates in
effect or the value of the ‘eased property at the lime a fee of tax is assessed

MILTON S001-NLHE 4015

which is included in your monthly payment. There will be no refund
for unused miles, including any additional miles purchased by you.

PURCHASE OPTION AT EWO OF LEASE TERM. You have an option to
purchase the Vehicle at the end of the lease term for $11,395.85 _,
and a Purchase Option Fee of $300.00, See Section 15.

OTHER IMPORTANT TERMS. This Lease contains additional information
on early termination, purchase options and maintenance responsibil-
ities, warranties, late and default charges, insurance, and any security
interest, if applicable.

chop one) oe eb oh m8) ee | cael oes tod oo

Assuming there is no default and that you exercise the purchase option al the
scheduled end of this Lease, your total cost under this Lease will be $23,283 14__,
which is the sum of the total payments due on signing excluding the refundable
security deposit, the total of the subsequent monthly payments, and the purchase
option price with purchase option fee, but excluding any state and local taxes or fees
imposed on the purchase

PPCM aie), Fy eM) lel et, (0) em LO kdl ¥-1e] cme te rd ds), Ba Sey
\

hes rods are| npt required it yee into {his Lease and will not he provided
| anleds fou bidn belbw. If inisuparkre,, coverages anor warranties are purchased by
\ soo? ese Ard shoy mln a potice yen to fu gn this date. These products may not
available in some states.
a) Gredit Lite insurance $ NA
nivay
NIA $ NA
INTER TATTAL COs BRACE AMOS
DS Bt LES LL IITALS LESSEE ITAL!
b) Greait Disability insurance $ NIA
US
WA $ NIA
DMS LEE MONTHLY COVERAGE AME) Be
Tutt RED: f LESSER INITLLS- LESSEE DOTIAL:
c) Mechanical Breakdown Protection $ NA
TUR
( parts of Vehicl? sp to sooner of _NfA months or___ N/A__ miles.)
mV) \\
thet \é Se ALS COLES TITUS
d ce od f $ NIA
A uate
AER LESSEE INETUALS OOLENSEE TALS
e} NIA $_NWA
Cue
NIA ee
Penick LOSE Pvrmius. CO-LESHLE (NTFS
f) NIA $_NIA
CHU
NIA
PES IOER LESSIE ITLALS LESSEE ETL:
g) NIA $ NIA
CHARKE.
NIA
Pe De UESSet TLS LESS22 WNIT:
Total Fremiums/tharges 3 NIA

Page 2015
Ths ia not the Authoritative Copy.

Case 3:20-cv-13509-GC-DEA Document 66-9 Filed 08/31/22 Page 4 of 6 PagelD: 384

Additional Terms and Conditions

a TOTES tema cele) aa ee) 3

12. Vehicle Return

When your Lease terminates, whether early or as scheduled, you will return the Vehicle to 2
Nissan dealer or other location we specify. You will complete a statement of this Vehicle's mileage
al termination as required by federal law. If you keep possession of this Vehicle past the end of
the lease term, you will continue to pay Ihe monthly payments, but you agree thal you have no
right to keep this Vehicle unless you enier into a written agreement with us extending the lease
term. You will pay us for any damages we suffer because vou falled to return this Vehicle to 2
Nissan dealer of other location we specify or because vou failed to return Us Vehicke at the end
of the lease term. We may determine our damages in one of the folowing (wo ways al our
election and fn our sole discretion: a) by charging you the Total Monthly Payment for each
month the Vehicle & not returned as required plus any other amounts due under Sections 13 and
25; or b) by charging you for amounts due under the formula provided in Section 14 and any
amounts due under Sections 13 and 25.

13. Scheduled Termination

The scheduled term of your Lease is the number of months corresponding lo the number of
monthly payments identified in Sections 3 and 5. At the end of the term, you will return

c) any laxcs related to the termi

14. Early Terminatian

a) Conditions for YOUR earl tnatlon. You maj termi
of the lease term, effective oritha due date of gmonttily leaze 5
Vehicle, you are not in default, jf’ar lea is
keast $0 days prior written notice pay us the

at D dis

b) Conditions for OUR early termination. We may terminate this Lease
the lease term under Section 26 of if you are in default as described in Section 25.

¢) Amounts you will owe at Early Termination. If this Lease Is terminated before the end
of the lease term, under Section 14.2) or Section 14.6), then you will pay us:
{) the amounts disclosed in Section 13: plus
li) an Early Termination Charge equal to the difference, if any, between the Adjusted

Lease Balance and this Vehule’s Fair Market Wholesale Value or, if we do not
lerminale this Lease under Section 14.b). an Early Termination Charge equal to the
sum of the Base Monthly Payments not yet due, if less; plus

111) if you are in default, the amounts disclosed in Section 25.

d) For an electric vehicle, if we abandon our interest in the charging accessories, we may
exclude the value of the charging accessories [rom the determination of Fair Markel
Wholesale Value.

“adjusted Lease Balance” is a charge in today’s datlars ("today” belng the date the Lease is
lerminated} for Base Monthly Payments not yet due and the Residual Value of the Vehicte
Our method of calculating *teday’s dollars” is the Constant Yield Method, a generally accepied
accounting formula.

*Fair Market Wholesale Value" is the wholesale value assigned by us in a commercially
seasonable manner in accordance with accepted practices in the automobile industry for
valuation of used vehicles. or by a written agreement as lo the Vehicle's value signed by jou
and us. If you disagree with the value we assign to the Vehicle, you may obtain at your own
expense, within 16 days after you return the Yelucle, a professional appratsal of this Vehicle's
wholesale value or comparable value made by an independent third party agreeable ta both

u and us (the “Professional Appraisal’). Ifa Professional Appraisal is used to value the

ehicle for determining liabil:ty under this section, no amounts disclosed in Secuon 2U will he
due from vou.

Wi ahe event early termination of this Lease occurs at your election pursuant to Section
14.4), you hereby agree that the Far Market Wholesale Value is the wholesale value, loan
value or comparable vatue listed for the Vehicle at the time of the early termination, in one of
te Beane, used vehicle valuation guides, al cur election’ Nabonal Automobile Dealers
Association (NADA), Kelley or Black Boo

wee |

Ader ee ed ee a Ps ed eo es Dek)

16. fnsurance

maximum deductible of $1,000; b) Collision insurance with a maxim
Property damage liability of $50, per occurrence; and 7B
100,008 per person and ,DGD per occurrence. Your instirgfice policy
loss payee on coverages (a} and ib) and ae us with pr coveragi
provi

insured on cove (c} and (di. You wil
Your insurance policy

WO PHYSICAL DAMAGE OR LIABILITY INSURABCE COVERAGE FOR HO
PROPERTY DAMAGE CAUSED T OTHERS 1S INCLUDED IN THIS LEASE.

17. Late Charge, Returned Check Charge, Fines, and Fees

If any monthly payment is not received in full by us within 9§ days after its due date, you
will pay a late charge of 5% ci the monthly payment due or , whichever ts less or as
allowed by state law, plus any appheable taxes. Payments shall be applied to the most past-due
payment irst. If any ae Cinchiding any electronic funds teansfer) you make to ys is not

onored, or is charged back to us, in addition to any late charge, you will pay us a 10,00
service charge. or such other charge as allowed by law, plus any applicable taxes. You will pay
when due any official fee or fine imposed on this Vehicle, such asa toll charge, parking ticket,
teaffic or toll violauon, Should we have to pay any such fee or fine on your behalf, you will
pay us the amount of the fine or fee plus a 00 admin:steative charge, or such cher
charge as allowed by law, plus any applicable taxes.

18. Official Fees and Taxes

You will pay when due all offical fees and taxes, including registeation, title and license fees,
and personal property laxes related to this Vehicle or this Lease, which are incurred during
the lease term, even if they are assessed after this Lease terminales. Should we have 10 pay
any official fee of tax on your behall, you will pay us the amount of the official fee or tax, and
any interest or penalties assessed You may also agree to pay personal property taxes in
advance of the applicable due date, by mutual setilement of an estimated amount with us.

19. Vehicle Maintenance and Use
You agree to maintain this Vehicle at your own ene You agree to follow the owner's
manual and maintenance and to make all necessary repairs and reptacement of
parts, which Includes maintatning adequate records of vehicle maintenance, allure to
properly oralotaln this Vehicle In accordance with the owner's manual and/or
intenance schedule may result In charges In addition to excessive wear and use
charges. This Vehicle may nat be used for any illegal purpose er to transport people or
goods for hire. Except for occasional and incidental use (not to exceed a total of8 days in
any month) by other licensed, qualified, insured operators with your permission, you shall
retain possession of this Vehicle, Except as allowed in this Section, you will not aller o¢

NILTAN SOOI-NJ-E a/15

an éleciric vehicle, you agree thal we own the battery and that
ly witha pane Nissan batlery specified for
h replacement battery wilt be deemed an accession to the vehicle

encumbrances. If you leased this

i iduous United States. vou will not remove this Vehicle from these 48 states
thoul our prior consent. If you leased this Vehicke in Alaska, Hawali, or Guam, you will not
remove this Vehide from thal sate or territory without our prior consent. If you remove this
Vehicle from your state of residence or the garaging address identified in this Lease such that
new registration of licensing will be required, you wall notify us immediately in writing and will
bear all related expenses. You wil provide and complete any document necessary to comply with
any applicable federal. state or local law regarding this Vehicte or this Lease.

20. Excessive Wear and Use

You are responsible for all repairs to this Vehicle that are not the result of normal wear and use.
At the end of the lease term or at early Lermination Cexcepl in the case when a Professional
Appraisal as set forth in Section 14 is used to value the Vehicle), you will pay us the amount it
would oost for the repairs. These repairs inecluede, but are reot limited to, the costs necessary to:

a) REPAIR: inoperative mechanical parts inching power accessories; dents, scratches, chips or
rusled areas on the body; mismatched paint; broken windows or inoperative window
mechanisms; broken headlight lenses or sealed beams; dents, cuts, sceatches or gouges in the
bumper; broken grilles or denis in the grilles; single dents or a series of small dents on other
trim parts, including headlight and tailbght bezels, or seats, seat belts, head lining, door panels
of carpeting thai are orn or are dama ordinary wear and use or are burned.

b) REPLACE: any windshield damaged with chips. cracks or bull'seves: any tire not part of a
maiching set of § ilres (or four with an emergency spare). or tires with less than 1/8” of
read remaining at the shallowest point, or tires which are not a matching set of tires of
comparable type and quality to the lires furnished with this Vehicle upon commencement of
this Lease, missing parts, accessories and adornments, including bumpers, ornamentation
aerials, hubcaps, chrome stripping. rearview mirrors, radio and sereo components, or
emergency spare.

You may obtain at the end of the bease erm and al your own expense a Professional Appraisal of

the amount required to repair or septace parts or the amount which the excessive wear and ust

reduces the value of the Vehicle. Such a Professional Appraisal shall be performed by an
independent third party agreed to by the Lessee and Lessor, which appraisal will be final and

Page 3 of 5
This in oa the Authoritative Copy

Case 3:20-cv-13509-GC-DEA Document 66-9 Filed 08/31/22 Page 5 of 6 PagelD: 385

binding on all parties to this Lease. 1 oeuer to elect such an mdependent Professional Appraisal,
you must notify us mn wong within seven buswness days alter the earlier of our mailing of
delivery to you of our invoice for our wear and use charges on the Vehicle,

You agree thal upon notice from us and as allowed by State law, you will inake the Vehicle
availahte lo us prior to the scheduled termination of this Lease. at a reasonable time and place to
be des y’ us, $0 thal we may inspect the Vehicle for purposes of determining excessive
wear and use You agree that any assignee of this Lease is not bound by any statements or

representations made by any dealer regarding excess wear and use of the Vehicle condition upon
reiurn. You agree that for the purposes of determining exces wear ait use the only
inspection(s} that will be used is{are} the inspection(s) by the assignee or its designated
inspection contractor If you fall to adhere to manufacturer maintenance and inspection
oe we may charge you for any resulting excessive wear and use or damages lo the
Vehide, urchating. bit not limited to. any boss in value atiribytable lo any manufacturer
cancellation or reduction of warranties.

Up eae eee el ur mene, |
21. Notices and Communications

Unless you give prior notice of a change in an address, we may send any notices to one or
more of the Lessee's addresses shown on this Lease Any notice will be deemed sufficiently
given lo a Cotessee if sent to the Lessee’s address, unless you Ee us written notice of a
separate addvess, You will notify us within 30 days of any address change To ihe extent
permitted by law, you consent that we. our assignees, and our agents may contact you at any
telephone number we have for you. including any cell numbers and any phone
numbers listed on this document, by any means we select, including an automatic telephone
dialing system, text messaging, and/or an astificial or pre-recorded vive.

22. Security Deposit (if collected)

We may use the security deposit to offset any amounts thal you owe under this Lease. If you
perform all of your obligations under this Lease, the security deposit will be returned to you
after lease lerminauion. No interest. increase or profits will accrue or be due to you. We have
no duty to segregate the security deposit and do not have a fiduciary duty to you in regards
to Ihe secunty deposit.

23. Security interest

Unless otherwise precluded by a: le Law, you glve us a security imerest in this Vel
in proceeds, cancellation refuviy or’ other ripils i i

this Vehicle, this Lease or anf addendum to ilus
insurance contracts, maintenamee boniracts, repaw
service contracts.

24. Assignment .
We may assign our interest in this Lease without prior noice and without your consent, If
this Lease is assigned to NILT, Nissan Motor Acceptance Corporation ("NMAC") acts as servicer.
YOU AGREE THAT YOU HAVE NO RIGHT TO ASSIGH, TRANSFER OR SUBLEASE ANY OF YOUR RIGHTS
UNDER THIS LEASE,

25. Default and Payments

You will be in default if a) you do not make a payment on or before the 15° day following its
scheduled due date; b) any information on your or a guarantor’s credit application 1s false; ¢)
you do nol maintain insurance coverage required by this Lease; d) you do not limely of
rogerly perform any promise under this Lease, ¢) you or a guarantor become subject ta
ankruptey or insolvency proceedings f) you commit anv other act constituting default under
applicable law In the event of delauh, we may terminate this Lease and. afer giving any
ally required notice and subject to your one-time right to reinstatement of a payment
default (pursuant to Section 56:12-65 of the New Jersey statutes): (i) charge you for early
termination lability pursuant to Section 14; (ii) repossess this Vehicle awed by law: (iii)
chatge you for our costs of such repossession, storing, transp ppsing of this
Vehicle; (iv) charge you for our costs of callection, any court b
extent pera by applicable law; (¥)} suc you for damages
rsue any other epaly permitted remedy, and/or (vii) charge
be per annum or such other rate as a be allowed by applica Y
liability owed under Sections 13 and 14. To the extent permitted by law, you agree
accep! moneys in sums leas than those due, accept payments % acer
scheduled due dates, or make extensions of due dates of payments'y e rf
will not be a waiver of our right to enforce the lease terms as wrilten as to any amounts due
thereafter, We may accept payments with “Payment in Full,” similar Janguage or other
restrictive endorsements without being bound by such language or waiving any of our rights.

26. Damage, Loss or Potential Loss of This Vehicle

You are responsible for the risk of loss, damage or destruction of this Vehicle during the lease
term and until you return this Vehicle to us as required above. If this Vehicle is damaged or
destroyed in an accident of other occurrence or confiscated by any governmental authority
or is stolen or abandoned of subjected to potential loss. you will immediately notify us and
we may terminate this Lease pursuant to the terms of this Lease. If this Vehicle is stolen Cand
not recovered) or destroved. we will accept insurance loss proceeds in full satisfaction of your
tarly termination liability and you shall have no further liability if you are in comphance
with the following: 1} your insurance obligations under this Lease are satisfied; 2) your
policy covers the cauually and vou have paid the deductible required by the policy; and 3)
your Lease is not in default. If ihe insucance toss proceeds exceed your early termination
obligations. then the excess will not be refunded to you. Any capitalized cost reduction made
by you will not be refunded in the event of a total foss. Hf the Vehicle is a total loss, there is
no Purchase Option, and you have no right to retain the Vehicle for salvage. If you owe any
past due pameats or other amounts under this Lease, we may use your security deposit to
offset such amounts. All damages which do not result in a total loss of the Vehicle must be
repaired. We may cequire proof of satisfactory repairs before agrecing to or endorsing the
payfnert of Insurance proceeds to you. This may inchide ecquiting an inspection of the
Vehicle. Repairs which involve severing the Veliide into two or more parts are not permitted.
Only Genuine Nissan parts may be to repair the Vehicle. Repairing the Vehicle with used
paris may vold the manufacturer's eae or any additional warranties, service contracts
of maintenance contracts covering the Vehicle. If used pasts are installed to repair the
Vehicle, the used paris must be Genuine Nissan Remanufactured paris. be of the same model
year or newer than the parts being replaced and, if applicable, the mileage of the used part
must be the same or less than the mileage of the Yehicle prlor to Its damage. Used parts must
a a previousty damaged or defective. Used body panels cannot replace damaged
y panels.

NILTAN 3001-NJ-E 415

27. indemnity

You agree to indemnify us from, and to pay on our behalf, any claim, loss or ltability
Cincke Ing damages, costs, expenses and fees} which arises from or is related ta

e use, maintenance or operation of the Vehicle. This Section will survive termination
of this Lease and/or repossession of the Vehicle. Any insurance we provide Is
secondary to the Required Insurance,

28. Notices Regarding Assignments
If this Lease and the Vehicle are assigned by the Dealer to MILT, then:

(1) The Dealer ts hereby notified that NILT has assigned to Nussancinfiniti Services Co.
(RISC) a rights (but not its obligations) to acquire the Vehicle upon Lease
inception,

(2) The Dealer and Lessee are hereby notified that NILT's eights (but not its obligations) in
the sale of the Vehicle, if the Vehicle is subsequently purchased from NICT, will be
assigned to NISC immediately prior to the purchase of the Vehicle. [f the Lessee is
purchasing the Vehicle, the Lease and the Vehicle are sold to a dealer, who will thea
sell the Vehicle to the Lessee.

29. ARBITRATION CLAUSE - IMPORTANT - PLEASE

ALASS REPRESENT AT] VE“ ORME EMBERAN Ah

AGAINST US INCLUOING ANY RIGHT TO CLASS ARBITRATION OR ANY CONSOLIDATION

OF INDIVIDUAL ARBITRATIONS.

3. DISCOVERY AND RIGHTS TO APPEAL IN ARBITRATION ARE GENERALLY MORE LIMITED
THAN IN A LAWSUIT, AND OTHER RIGHTS THAT YOU AND WE WOULD HAVE Ih COURT
MAY NOT BE AVAILABLE IN ARBITRATION.

Except as otherwise stated below, any claim or dispute, whether in contract, tori, statute or
otherwise (including the interpretation and scope of this clause and the arbitrabitity of the
claim or ee) between you and us or our employees, agents, successors or assigns, which
arises out of or relates to your credit application, lease or condition of this vehicle, this Lease
agreement or any resulting transaction or relationship (including any such relationship with
third parties who do nos sign this Lease) shall, at a or our election, be resolved by neutral,
binding arbitration and not by a court action. If federal law provides that a claim or dispute
is not subject to binding arbitration, this Arhitration Clause shall not apply to such claim or
dispute. The daim or dispute Is to be arbitrated by a single arbitrator on an individual basls
and not as a class action. You expresshy waive any right you may have to arbitrate a class
action. You may choose one of the following arbitration organizations, and its applicable
rules, 1o-copducy rbitratiog: JAMS (800 352-5267, www jamsadr.com), ihe American
hibiva 8007778-7879, waw.adrorg), or any other organization subject to
copy the cules of an arbitralton organization by contacting
is website.

or retited judges and shall be selected pursuant to the
rator shall apply governing substantive taw and the applicable
655 ‘applicable few ‘ovides otherwise, the arbitration hearing shall
ral district in whiel: you reside unless the Dealer originating this
trase i a party daim or dispute, In which case the hearing will be held in the federal
district where this contract was execuied. We will pay your filing, administration, service and
case management fee, your arbitrator and hearing lee and any arbitration appeal fees you
incur all up to a maximum of $5,000, unless the law requires us to pay more. The amount
we pay may be reimbursed in whole or in part by decision of the arbiteator if the arbitrator
finds that any of your claims are frivolous under applicable law. Each party shall be
ible for its own attorney, expert and other fees, unless awarded by the arbitrator
under applicable law, {f the chosen arbitration organization's rules conflict with this clause,
then the provisions of this dause shall conteol. arbitrator's award shall be final and
binding on all parties, except that you may appeal any arblirator's award pursuant lo the
rutes of the arbitration organization, and we may only appeal an award against us exceedin,
$100,000. Any arbitration under this Arbitration Clause shall be governed by the Federal
Arbitration Act (9 U.5.C, § | eL. seq.) and nat by any state law concerning arbitration.

You retain the right to seck remedies in small claims court for disputes or claims within that
court's jurisdiction, and we agree to reimburse your fiting fees for such proceeds You and
we retain any rights 10 self-help remedies, such as repossession. You also retain the righi to
seek individual injunctive relief in court. Neither vou nor we waive the right to arbitrate by
using self-help remedies or filing suil. Any court having jurisdiction may enter judgment on
the arbitrator's award, This Arbitration Clause does not apply lo any claim or dispute relating
to excessive wear and use. including collection or payment disputes. This Arbitration Clause
shall survive any termination, payoff or transfer of this Lease. If any part of Ihis Arbitration
Clause, other than waivers of class action rights, is deemed or found to be unenforceable for
any reason, the cemainder shall remain enforceable. (f a waiver of class action rights is
deemed or found to be unenforceable for any reason in a case in. which class action
allegations have been made, the remainder of this Arbitration Clause shall be unenforceable.

Pep a oft
This is not the Authoritative Copy

Case 3:20-cv-13509-GC-DEA Document 66-9 Filed 08/31/22 Page 6 of 6 PagelD: 386

Ee Fee Se)

Electronic Contracting and Signature Acknowledgment.

You agree that (i) this contract is an electronic contract executed by you using your electronic signature: (ii) your electronic signature signifies your intent to enter into this
contract and that this contract be legally valid and enforceable in accordance with its terms to the same extent as if you had executed this contract using your written
signature; and (iii) the authoritative copy of this contract (‘Authoritative Copy”) shall be that electronic copy that resides in a document management system designated by
us for the storage of authoritative copies of electronic records, which shall be deemed held by us in the ordinary course of business. Notwithstanding the foregoing, if the
Authoritative Copy is converted by printing a paper copy which is marked by us as the original (the “Paper Contract"), then you acknowledge and agree that (1) your
signing of this contract with your electronic signature also constitutes issuance and delivery of such Paper Contract; (2) your electronic signature associated with this
contract, when affixed to the Paper Contract, constitutes your legally valid and binding signature on the Paper Contract; and (3) subsequent to such conversion, your
obligations will be evidenced by the Paper Contract alone.

SignatureDIRECTPAY AUTHORIZATION AGREEMENT (Not required. Please compfele and sign if you want this option.)

You agree to let us debit the payments shown in this contract from your account electronically when they are due. The payments will be debited from the Bank or other
financial institutlon jisted below. You also agree to let your Bank honor the debit requests. You agree to continue to make your payments until you are notified by us that
the debit payment process is engaged, This agreement will be in effect until all the payments have been made. You can stop the debits a1 a time by giving us and your
Bank wrilten notice to cancel that allows a reasonable period of time for us to act. You acknowledge that we will not send you paper monthly billing statements. You will
be able to view your monthly billing statement electronically by logging Ln and registering at www nissanfinance.com. You agree Io provide us with a voided check that has
your Bank name, branch address and account number so we can arrange the debits

NIA
SIGNATIIRE/DATE (LESSEE GR UO-LESSEE) SIGNATURE DATE (BANK ACCOUNT OWNER OR JOINT OWNER IF BANK NAME

OTHER THAN LESSEE OR CO-LESSEE}
lessee ii

Notice Regarding Arbitration: By signifg] below, jou(atkno ledge that t i Mae read it. READ THE
ARBITRATION CLA' 8 (N SECTION] 29 BEFOR H
Lessee signature: adv. hi, 7 A idnature Wh EX

This Lease is the entire agreement and can only be changed by written agreement between the Lessee, Co-Lessee {if applicable) and Dealer, NILT, or any other assignee, if
this Lease is assigned, There are no other written or verbal agreements Any provision of this Lease which is invalid, illegal or unenforceable shall be ineffective without
affecting in any way the remaining provisions. All lessces and guarantors are jointly and severally liable.
YOU HAVE READ THIS ENTIRE LEASE BEFORE SIGHING. YOU ARE ENTITLED 10 AO HAVE RECEIVED A COMPLETED COPY OF THIS LEASE.
By signing below, you acknowledge that:
© This Lease is completely filled out;
* You have read this entire Lease carefully and agree to all of its terms
CAUTION - - IT IS IMPORTANT THAT YOU THOROUGHLY READ THE CONTRACT BEFORE YOU SGN IT.
WOTICE: THE LESSEE AND THE LESSOR SHALL GE ENTITLED TO REWEW THE CONTRACT FOR ONE BUSINESS DAY @EFORE SIGMING THE CONTRACT.

Gilt
Babli

CO-LESSEE SIGNATURE

Guarantor

GUARANTOR SIGNATURE GUARANTOR SIGNATURE GUARANTOR SIGNATURE
NIA NIA

PRINT NAME PRIXT NAME PRINT NAME
Lessor

a) Lessor accepts the terms of this Lease, and

b) Lessor assigns and transfers to Nissan-lofinit! LT CNILT’) all of Lessor's rights, ithe and interest in and to this Vehicle and this Lease includig all amounts payable
thereunder, pursuant to the terms of the applicable written Retailer Agreement between Lessor and Nissan Motor Acceptance Corporation ("NMAC"), the benefits of
which have been assigned by NMAC to NILT for purposes of leases assigned to NILT. Any guaranty by Retailer is made notwithstanding the terms of the Retailer
Agreement.

by signing below, the Lessor accepts the terms and conditions of this Lease

DCH FREEHOLD NISSAN IF FINANCE MANAGER
LESSOR (PRINT NAME) LESSOR SIGNATLRE TME

NILFN JODIE 4:95 Page § of 5
